                UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF WISCONSIN


RUTHELLE FRANK, SHIRLEY BROWN,
NANCY LEA WILDE, EDDIE LEE
HOLLOWAY, JR., MARIANNIS GINORIO,
FRANK YBARRA, SAM BULMER,
PAMELA DUKES, CARL ELLIS, RICKIE
LAMONT HARMON, DARTRIC DAVIS,
BARBARA ODEN, DEWAYNE SMITH,
SANDRA JASHINSKI, JUSTIN LUFT,                Civil Action No. 2:11-cv-01128
ANNA SHEA, MATTHEW DEARING,                   (LA)
MAX KLIGMAN, SAMANTHA
MESZAROS, STEVE KVASNICKA,
SARAH LAHTI, DOMONIQUE
WHITEHURST, EDWARD HOGAN,
ANTHONY JUDD, AND ANTHONY
SHARP, on behalf of themselves and all others
similarly situated,

                          Plaintiffs,

                     v.

SCOTT WALKER, in his official capacity as
Governor of the State of Wisconsin, et al.,

                          Defendants.


         FIRST AMENDED COMPLAINT FOR DECLARATORY
                   AND INJUNCTIVE RELIEF

      Plaintiffs Ruthelle Frank, Shirley Brown, Nancy Lea Wilde, Eddie Lee

Holloway, Jr., Mariannis Ginorio, Frank Ybarra, Sam Bulmer, Pamela Dukes, Carl

Ellis, Rickie Lamont Harmon, Dartric Davis, Barbara Oden, DeWayne Smith,


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Sandra Jashinski, Justin Luft, Anna Shea, Matthew Dearing, Max Kligman,

Samantha Meszaros, Steve Kvasnicka, Sarah Lahti, Domonique Whitehurst,

Edward Hogan, Anthony Judd, and Anthony Sharp (collectively, “Plaintiffs”), who

are eligible Wisconsin voters, bring this action to protect their rights, and the rights

of all other similarly situated Wisconsin residents, to vote under the United States

Constitution and the Voting Rights Act. Wisconsin’s voter identification law,

2011 Wisconsin Act 23 (“the photo ID law” or “Act 23”), will deprive the named

plaintiffs above and the classes of voters they represent of their fundamental right

to vote.

      Plaintiffs, through their undersigned counsel, bring this Complaint against

Defendant Scott Walker (“Defendant Walker”), in his official capacity as Governor

of the State of Wisconsin; Judge David G. Deininger in his official capacity as

Chair of the Wisconsin Government Accountability Board (“GAB”); Judge

Michael Brennan, in his official capacity as Vice Chair of the GAB; Judge Thomas

Barland, in his official capacity as a member of the GAB; Judge Thomas Cane, in

his official capacity as a member of the GAB; Judge Gerald C. Nichol, in his

official capacity as a member of the GAB; Kevin J. Kennedy, in his official

capacity as Director and General Counsel of the GAB; Nathaniel E. Robinson, in

his official capacity as Administrator of the Elections Division of the GAB (“the

GAB Defendants”); Defendant Mark Gottlieb, in his official capacity as Secretary



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of the Wisconsin Department of Transportation (“WisDOT”); Defendant Lynne

Judd (“Defendant Judd”), in her official capacity as the Administrator of the

Division of Motor Vehicles (“DMV”) at WisDOT; Defendant Kristina Boardman,

in her official capacity as the Director of the Bureau of Field Services at the DMV;

Defendants Donald D. Reincke and Tracy Jo Howard, in their respective official

capacities as Region Manager and Region Operational Manager of the DMV

Bureau of Field Services office for the Southwest Region; Defendants Sandra M.

Brisco and Barney L. Hall in their respective official capacities as Region Manager

and Region Operational Manager of the DMV Bureau of Field Services office for

the Southeast Region; Defendant Donald J. Genin in his official capacity as Region

Manager of the DMV Bureau of Field Services office for the Northeast Region;

Defendant Jill Louise Geoffroy in her official capacity as Region Manager of the

DMV Bureau of Field Services office for the North Central Region; and Defendant

Patricia A. Nelson in her official capacity as Region Manager of the DMV Bureau

of Field Services office for the Northwest Region (“the DMV Defendants”)

(collectively, “Defendants”). Plaintiffs allege upon knowledge as to their own

conduct and observations and upon information and belief as to the conduct of

others:




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                           NATURE OF THE ACTION

      1. This action seeks declaratory and injunctive relief against Wisconsin state

officials’ enforcement of 2011 Wisconsin Act 23 (the “photo ID law”), which

requires voters in Wisconsin to present photo identification in order to cast their

votes either in person at a polling place or by absentee ballot. This requirement

went into effect on February 21, 2012, the date of Wisconsin’s spring primary.

      2. This lawsuit seeks a declaratory judgment that the photo ID law is

unconstitutional as applied to certain classes of eligible Wisconsin voters and to

enjoin its enforcement with respect to these classes. It also seeks a declaratory

judgment that the photo ID law violates Section 2 of the Voting Rights Act and an

injunction as applied to Milwaukee County, Wisconsin and the State of Wisconsin.

The photo ID law imposes a severe and undue burden on the fundamental right to

vote under the Equal Protection Clause of the Fourteenth Amendment of the

United States Constitution; violates the Twenty-Fourth and Fourteenth

Amendments to the United States Constitution as an unconstitutional poll tax;

violates the Equal Protection Clause of the Fourteenth Amendment in arbitrarily

refusing to accept certain identification documents; and violates Section 2 of the

Voting Rights Act, 42 U.S.C. § 1973, due to its disproportionate negative impact

on minority voters in Milwaukee County, Wisconsin and in the State of Wisconsin.




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                                      PARTIES

      3. Each of the plaintiffs named in this Complaint is a citizen of the United

States, a resident of the State of Wisconsin, and is a duly qualified elector eligible

to vote in local, state, and federal elections in Wisconsin. Every United States

citizen age 18 or older who has resided in an election district or ward in the State

of Wisconsin for 28 consecutive days before any election where the citizen offers

to vote is an eligible elector (hereinafter, “eligible Wisconsin voter”). Wis. Stat. §

6.02(1).

      4. Plaintiff Ruthelle Frank is an 84-year-old Caucasian resident of Brokaw,

Wisconsin, where she has served on the Village Board since 1996, and an eligible

voter registered to vote in Wisconsin. She has no accepted form of photo ID under

the photo ID law and has never had a Wisconsin driver’s license or Wisconsin state

ID card. Mrs. Frank was born at her home in Brokaw in 1927. Though she has

never possessed a copy of her birth certificate, upon information and belief, the

state Register of Deeds has a record of her birth and could produce a certified copy

of her birth certificate at a charge. However, that record bears an incorrect spelling

of her maiden name and her parents’ names. She was informed that amending her

birth certificate would require a legal proceeding which could be lengthy and cost

as much as $200. The DMV office would not accept her baptismal certificate and

did not inform Mrs. Frank of any alternative procedure to satisfy this requirement.



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She has voted consistently since 1948 and wishes to vote in Wisconsin again this

year.

        5. Plaintiff Shirley Brown is a 73-year-old African-American resident of

Milwaukee, Wisconsin and an eligible voter. She has no accepted form of photo

ID under the photo ID law and has never had a Wisconsin driver’s license or

Wisconsin state ID card. Ms. Brown lacks a certified copy of her birth certificate.

Ms. Brown was born in Louisiana at home by midwife and, upon information and

belief, there is no record of her birth on file with the Louisiana Department of

Health and Hospitals (“DHH”) Vital Records Registry. Furthermore, when Ms.

Brown sought confirmation from the DHH Vital Records Registry in Louisiana

that no birth record existed, the agency inexplicably sent her a birth certificate for

her sister, June Rose Brown, who is about four years younger. The DMV office

Ms. Brown visited when trying to obtain an ID did not inform her of any

alternative procedure to satisfy its documentary proof requirements. Ms. Brown

wishes to vote in Wisconsin this year.

        6. Nancy Lea Wilde is a 74-year-old Caucasian resident of Schofield,

Wisconsin and an eligible and registered voter. She has no accepted photo ID

under the photo ID law and has never had a Wisconsin driver’s license or state ID

card. Mrs. Wilde lacks a certified copy of her birth certificate which she needs to

prove her citizenship to the Wisconsin DMV. Instead, Mrs. Wilde possesses a



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hospital certificate of her birth and a baptismal certificate. Mrs. Wilde was born in

Wausau, Wisconsin, but both the Marathon County, Wisconsin Register of Deeds

and the Wisconsin Vital Records Office in Madison, Wisconsin have informed

Mrs. Wilde that there is no record of her birth on file. About two years ago, the

DMV office in Wausau denied her a state ID card, since she could not present a

certified copy of her birth certificate. Recently, in response to further inquiry, a

DMV employee called Mrs. Wilde and informed her that she could secure a

certification from the Wisconsin Vital Records Office that there is no record of her

birth and use her hospital and baptismal certificates instead to obtain a state ID

card. However, DMV never provided her with the forms to use or gave her clear

instructions on how to proceed. Mrs. Wilde has voted consistently since 1957 and

intends to vote in Wisconsin again this year.

      7. Plaintiff Eddie Lee Holloway, Jr. is an African-American resident of

Milwaukee, Wisconsin and an eligible and registered voter. He has no accepted

form of photo ID under the photo ID law and has never had a Wisconsin driver’s

license or Wisconsin state ID card. Mr. Holloway, Jr. lacks an accurate and

certified copy of his birth certificate. Mr. Holloway, Jr. was born in Decatur,

Illinois. His father’s name was “Eddie Lee Holloway,” and his parents gave him

the name “Eddie Lee Holloway, Jr.” However, his birth certificate, which Mr.

Holloway, Jr. possesses, bears the name “Eddie Junior Holloway.” His Social



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Security Card and expired Illinois state ID card both bear the name “Eddie L

Holloway Jr”. When he tried to obtain an ID, the DMV office denied his

application because of the discrepancies between his birth certificate and other

documents, and did not inform him of any alternative procedure to satisfy its proof

requirements. He has been informed that the legal proceeding needed to amend his

birth certificate would cost him hundreds of dollars. Mr. Holloway, Jr. is

unemployed due to disability and cannot afford the expense of seeking an

amendment to his birth certificate. Mr. Holloway, Jr. wishes to vote in Wisconsin

this year.

       8. Plaintiff Mariannis Ginorio is a 19-year-old Hispanic/Latino resident of

Milwaukee, Wisconsin and an eligible voter. She has no accepted form of photo

ID under the photo ID law and has never had a Wisconsin driver’s license or

Wisconsin state ID card. Ms. Ginorio was born in Puerto Rico and has a birth

certificate that was issued prior to July 1, 2010, when Puerto Rico began issuing

new birth certificates pursuant to Law 191 of 2009 as Amended. In accordance

with Puerto Rican law, the Wisconsin DMV has deemed all certified copies of

birth certificates issued prior to July 1, 2010 invalid for purposes of proving U.S.

citizenship at a Wisconsin DMV office. Additionally, because she does not have

current government-issued photo identification, Ms. Ginorio cannot meet the

application requirement to obtain a certified copy of the new birth certificate from



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Puerto Rico. Ms. Ginorio also has limited income from her employment and

numerous bills to pay, so that applying for a birth certificate will be a financial

burden. Ms. Ginorio wishes to vote in Wisconsin this year.

      9. Plaintiff Frank Ybarra is a 59-year-old Hispanic/Latino resident of

Milwaukee, Wisconsin and an eligible voter. Many years ago, he had a driver’s

license and state photo ID card issued by the State of Wisconsin, but Mr. Ybarra

currently has no accepted form of photo ID under the photo ID law. Mr. Ybarra

was born in Milwaukee, but lacks a certified copy of his birth certificate and lacks

the documents that are normally required by Wisconsin to obtain a birth certificate.

Furthermore, he was born “Frank Pronto” in Milwaukee County and legally

changed his name to “Frank Ybarra,” his father’s name, while living in Texas

when he was in his twenties. However, he does not have the court records from

this name change and is unable to acquire them without incurring significant

financial and other burdens. Mr. Ybarra is currently experiencing homelessness

and usually sleeps on the street. He has no regular income and no savings, but

occasionally finds work on a day-by-day basis, and cannot afford any costs to

obtain necessary documents for the state ID card application. As an unsheltered

homeless person with no connection to any social service agency other than a meal

program, it is unclear whether he can prove Wisconsin residency for the state ID

card application and receive a state ID card in the mail at a current Wisconsin



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residence street address. Additionally, Mr. Ybarra could use his Texas court

records as proof of identity, but barring that, he will be compelled to obtain a

Social Security Card. Mr. Ybarra wishes to vote in Wisconsin this year.

      10. Sam Bulmer is a 63-year-old Caucasian resident of Milwaukee,

Wisconsin and an eligible and registered voter. He has no accepted photo ID under

the photo ID law and has never had a Wisconsin driver’s license or state ID card.

Mr. Bulmer is a 13-year veteran of the United States Air Force and was an

instructor with the Air Force Training Command. He is currently living in a

homeless shelter for veterans and subsists on an extremely limited monthly

pension, which is limited further by the shelter’s policies requiring him to set aside

a significant portion of his money. Mr. Bulmer lacks a certified copy of his birth

certificate from the State of Kansas and cannot afford the $15.00 birth certificate

application fee. Even if he could, he lacks the documents to satisfy the

identification requirement for a mail-in birth certificate application. Mr. Bulmer

also lacks a Social Security Card (“SSC”), which is accepted proof of identity for

the Wisconsin state ID card application. Mr. Bulmer does, however, possess a

Veterans Identification Card (“VIC”), which is issued by the U.S. Department of

Veterans Affairs and contains his name and photograph. Mr. Bulmer wishes to

vote in Wisconsin this year.




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      11. Plaintiff Pamela Dukes is a 51-year-old African-American resident of

Milwaukee, Wisconsin and an eligible voter. She has none of the accepted forms

of photo ID under the photo ID law and lacks a certified copy of her birth

certificate from Cook County, Illinois. Ms. Dukes receives monthly Supplemental

Security Income (“SSI”) disability benefits, but has no other income or savings.

She spends the overwhelming majority of her SSI income on rent, and the

remainder is devoted to utility bills and other necessary living expenses. She is

therefore unable to afford a certified copy of her Illinois birth certificate. Ms.

Dukes wishes to vote in Wisconsin this year.

      12. Plaintiff Carl Ellis is a 52-year-old African-American/Caucasian

resident of Milwaukee, Wisconsin and an eligible voter. A veteran of the United

States Army, Mr. Ellis is currently living in a homeless shelter for veterans and has

no income or savings. Mr. Ellis has no accepted form of photo ID under the photo

ID law and lacks a certified copy of his birth certificate from the Illinois

Department of Public Health’s Vital Records Office. Mr. Ellis cannot afford to

pay for a certified copy of his Illinois birth certificate. He does, however, possess

a Veterans Identification Card (“VIC”), which is issued by the U.S. Department of

Veterans Affairs and contains his name and photograph. He wishes to vote in

Wisconsin this year.




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      13. Rickie Lamont Harmon is a 60-year-old African-American resident of

Milwaukee, Wisconsin and an eligible and registered voter. His Wisconsin state

ID card has expired and is not usable as photo ID to vote in Wisconsin. Mr.

Harmon is a veteran of the United States Army. He is currently living in a

homeless shelter for veterans. Mr. Harmon has no accepted photo ID under the

photo ID law, but does possess a Veterans Identification Card (“VIC”), which is

issued by the U.S. Department of Veterans Affairs and contains his name and

photograph. Mr. Harmon wishes to vote in Wisconsin this year.

      14. Plaintiff Dartric Davis is a 21-year-old African-American resident of

Milwaukee, Wisconsin and an eligible voter. Mr. Davis has no accepted form of

photo ID under the photo ID law and lacks a certified copy of his birth certificate

from the Illinois Department of Public Health’s Vital Records Office. He moved

to Wisconsin in 2011 and has never held a Wisconsin driver’s license or Wisconsin

state ID card. Mr. Davis has made several attempts to acquire a certified copy of

his birth certificate from Illinois, but has so far been unable to do so. He wishes to

vote in Wisconsin this year.

      15. Plaintiff Barbara Oden is a 57-year-old, African-American resident of

Milwaukee, Wisconsin and an eligible voter. Ms. Oden has no accepted form of

photo ID under the photo ID law and lacks a Social Security Card (“SSC”), which

is accepted proof of identity for the Wisconsin state ID card application. She was



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denied an SSC by an employee at the Social Security Administration (“SSA”)

office, who told her that she must present a photo ID in order to obtain an SSC.

Ms. Oden wishes to vote in Wisconsin this year.

      16. Plaintiff DeWayne Smith is a 50-year-old, African-American resident of

Cudahy, Wisconsin, which is in Milwaukee County, and an eligible and registered

voter. Mr. Smith has no accepted form of photo ID under the photo ID law and

lacks a Social Security Card (“SSC”), which is accepted proof of identity for the

Wisconsin state ID card application. He has attempted on numerous occasions to

obtain a replacement for his lost SSC. However, every time he visits the SSA

office, employees inform him each time that he cannot obtain a replacement SSC

without a photo ID. He has since learned that alternative identification, such as an

employee ID card, a school ID card, or a health insurance cards, may be used to

obtain an SSC, but he does not have any of those documents either. He wishes to

vote in Wisconsin this year.

      17. Plaintiff Sandra Jashinski is a 48-year-old, Caucasian and Native

American (Cherokee) resident of Milwaukee, Wisconsin and an eligible voter. Ms.

Jashinski has no accepted form of photo ID under the photo ID law and lacks a

Social Security Card (“SSC”), which is accepted proof of identity for the

Wisconsin state ID card application. An employee at the Social Security

Administration office told Ms. Jashinski that she must present a photo ID in order



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to obtain an SSC and then denied her an SSC when she could not do so. Ms.

Jashinski is homeless and unsheltered and lacks connections to any social service

agency other than a meal program. As a result, she may also have no way to prove

her residency and receive a state ID card in the mail at a current Wisconsin

residence street address. She wishes to vote in Wisconsin this year.

      18. Plaintiff Justin Luft is a 20-year-old Caucasian resident of Milwaukee,

Wisconsin and an eligible voter. He has no accepted form of photo ID under the

photo ID law and has never had a Wisconsin driver’s license or state ID card. Mr.

Luft has twice traveled to the Wisconsin DMV office to obtain a state ID card, but

was unable to do so due to his lack of a Social Security Card (“SSC”) or any other

accepted form of proof of identity. He has visited the Social Security

Administration (“SSA”) office multiple times with his mother, but has been

unsuccessful in obtaining a duplicate of his SSC. He does not have a car, and thus,

the trips he has made to try to obtain an SSC and state ID card have been by bus.

He wishes to vote in Wisconsin this year.

      19. Plaintiff Anna Shea is a 20-year-old Caucasian student at Lawrence

University, an accredited four-year private university in Appleton, Wisconsin, and

an eligible voter. She currently holds an unexpired driver’s license from the State

of Colorado which she does not want to surrender and a Lawrence voting-only ID




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card, the validity of which for voting purposes remains uncertain. Ms. Shea voted

in the November 2010 general election and wishes to vote in Wisconsin this year.

      20. Plaintiff Matthew Dearing is an 18-year-old African-American student

at Lawrence University, an accredited four-year private university in Appleton,

Wisconsin, and an eligible voter. He currently holds an unexpired driver’s license

from the State of New York which he does not want to surrender. Lawrence

University is offering its students voting-only ID cards, but their validity for voting

purposes remains uncertain. Mr. Dearing wishes to cast his first vote this year in

Wisconsin.

      21. Plaintiff Max Kligman is a 19-year-old Caucasian student at Lawrence

University, an accredited four-year private university in Appleton, Wisconsin, and

an eligible voter. He currently holds an unexpired driver’s license from the State

of California which he does not want to surrender. Lawrence University is

offering its students voting-only ID cards, but their validity for voting purposes

remains uncertain. Mr. Kligman wishes to cast his first vote this year in

Wisconsin.

      22. Plaintiff Samantha Meszaros is an 18-year-old Caucasian freshman at

Carthage College, an accredited four-year private college in Kenosha, Wisconsin,

and an eligible voter. She lacks all the accepted forms of photo ID under the photo

ID law. Upon information and belief, Carthage’s newly revised student ID cards



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will comply with Act 23’s requirements, but the school has not started issuing

these. She currently holds an unexpired driver’s license from the State of Illinois

which she does not want to surrender. Ms. Meszaros intends to cast her first vote

this year in Wisconsin.

      23. Plaintiff Steve Kvasnicka is a 20-year-old Caucasian junior at Carthage

College, an accredited 4-year private college in Kenosha, Wisconsin, and an

eligible voter. He lacks all the accepted forms of photo ID under the photo ID law.

Upon information and belief, Carthage’s newly revised student ID cards will

comply with Act 23’s requirements, but the school has not started issuing these.

He currently holds an unexpired driver’s license from the State of Illinois which he

does not want to surrender. Mr. Kvasnicka wishes to vote in Wisconsin this year.

      24. Plaintiff Sarah Lahti is an 18-year-old Caucasian resident of Milwaukee,

Wisconsin, and a student at Milwaukee Area Technical College (“MATC”), where

she is studying for her GED. She currently holds an unexpired driver’s license

from the State of Tennessee which she does not want to surrender and an MATC

student ID card with her name and photo. She lacks all other accepted forms of

photo ID under the photo ID law. Ms. Lahti wishes to cast her first vote this year

in Wisconsin.

      25. Plaintiff Domonique Whitehurst is an 18-year-old African-American

and Native American (Blackfoot) student at Milwaukee Area Technical College



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(“MATC”). Mr. Whitehurst has an MATC ID card with his name and photo, but

no other accepted form of photo ID under the photo ID law. Mr. Whitehurst

wishes to cast his first vote ever this year in Wisconsin.

      26. Plaintiff Edward Hogan is a 21-year-old Caucasian resident of

Milwaukee, Wisconsin, and a student at MATC as well, where he is studying

towards an associate’s degree. Mr. Hogan has an MATC student ID card with his

name and photo, but no other accepted form of photo ID under the photo ID law.

He wishes to vote in Wisconsin this year.

      27. Plaintiff Anthony Judd is a 46-year-old, Caucasian resident of

Milwaukee, Wisconsin and an eligible voter. He has none of the accepted forms of

photo ID under the photo ID law. Due to the efforts of an individual with no legal

obligation to do so who provided financial and logistical support to him,

subsequent to the filing of this lawsuit, Plaintiff Judd obtained documents and is in

the process of applying for a photo ID card. However, he has not yet received the

state ID card, which DMV now mails to all applicants, and as an unsheltered

homeless person, it is unclear whether his efforts will be successful. He wishes to

vote in Wisconsin this year.

      28. Anthony Sharp is a 19-year-old, African-American resident of

Milwaukee, Wisconsin and an eligible voter. He is living with his mother, and at

the time the initial complaint in this action was filed, possessed none of the



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accepted forms of photo ID under the photo ID law, and lacks a certified copy of

his birth certificate. Mr. Sharp has no income or savings. Subsequent to the filing

of this lawsuit, Mr. Sharp was able to obtain an ID card solely because Milwaukee

County decided to allow certain persons born in the county to obtain free birth

certificates, and because of repeated visits to various agencies to obtain other

documents necessary to obtain photo ID. He intends to vote in Wisconsin next

year.

        29. Defendant Scott Walker is the Governor of the State of Wisconsin. He

is sued in his official capacity only.

        30. Defendant Judge David G. Deininger is the Chair of the Wisconsin

Government Accountability Board (“GAB”). Defendant Judge Michael Brennan is

the Vice Chair of the GAB. Defendants Judge Gerald C. Nichol, Judge Thomas

Barland, and Judge Thomas Cane are the three remaining members of the GAB.

There is currently one vacant seat. The GAB is charged with administering

Wisconsin’s election laws and has the authority to promulgate rules applicable to

all jurisdictions within the state for the purpose of interpreting or implementing the

laws regulating the conduct of elections or ensuring their proper administration.

Each of the GAB members listed above is sued in his official capacity only.




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      31. Defendant Kevin J. Kennedy is the Director and General Counsel of the

GAB, and Defendant Nathaniel E. Robinson is the Administrator of the Elections

Division of the GAB. They are sued in their official capacities only.

      32. Defendant Mark Gottlieb is the Secretary of the Wisconsin Department

of Transportation (“WisDOT”), which includes the DMV. He is sued in his

official capacity only.

      33. Defendant Lynne Judd is the Administrator of the Wisconsin DMV.

She is sued in her official capacity only.

      34. Defendant Kristina Boardman is the Director of the Bureau of Field

Services at the Wisconsin DMV. She is sued in her official capacity only.

      35. Defendants Donald D. Reincke and Tracy Jo Howard are, respectively,

the Region Manager and Region Operational Manager of the DMV Bureau of

Field Services office for the Southwest Region. Defendants Sandra M. Brisco and

Barney L. Hall are, respectively, the Region Manager and Region Operational

Manager of the DMV Bureau of Field Services office for the Southeast Region.

Defendant Donald J. Genin is the Region Manager of the DMV Bureau of Field

Services office for the Northeast Region. Defendant Jill Louise Geoffroy is the

Region Manager of the DMV Bureau of Field Services office for the North Central

Region. Defendant Patricia A. Nelson is the Region Manager of the DMV Bureau

of Field Services office for the Northwest Region. The Bureau of Field Services is



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the entity within DMV responsible for issuing driver’s licenses and identification

cards. They are sued in their official capacities only.

                           JURISDICTION AND VENUE

       36. This case arises under the Constitution and laws of the United States.

This Court has subject matter jurisdiction of this action under 28 U.S.C. §§ 1331,

1343(a)(3) & (4), 2201-02 and 42 U.S.C. §§ 1971(d), 1973j(f), and 1983.

       37. Venue in this district is proper under 28 U.S.C. § 1391(b)(1), because at

least two of the Defendants reside in the Eastern District of Wisconsin and all the

Defendants reside in Wisconsin, as well as 28 U.S.C. § 1391(b)(2), because a

substantial part of the events or omissions giving rise to the claims asserted herein

have occurred—and continue to occur—in the Eastern District of Wisconsin.

                  FACTS RELATED TO THE PHOTO ID LAW

       38. Prior to the enactment of the photo ID law, with a single, limited

exception,1 Wisconsin voters were not required to provide proof of identity in

order to cast a ballot, much less one of a specified, limited number of photo IDs.

While Wisconsin voters need to provide proof of residence to register to vote if

they are registering close to or on the day of an election, a range of documentation

is accepted by Wisconsin election officials to prove residency, including both
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  Under the Help America Vote Act (“HAVA”), first-time voters who register by mail must
produce “a current and valid photo identification” or “a copy of a current utility bill, bank
statement, government check, paycheck, or other government document that shows the name and
address of the voter.” 42 U.S.C. § 15483(b)(2).



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photo and non-photo forms of identification such as ID cards or licenses of any

kind issued by any Wisconsin governmental unit, utility bills, bank account

statements, paycheck stubs, any government-issued document, and residential

leases.

          39. The photo ID law, 2011 Wisconsin Act 23, was signed into law on May

25, 2011 and went into effect with the February 21, 2012 primary. Under the new

photo ID law, Wisconsin voters must present one form of photo identification from

a limited statutory list in order to cast a ballot.2 Unlike voter ID laws in other

states such as Indiana’s photo ID law, which was upheld against a facial

constitutional challenge in Crawford v. Marion County Election Board, 553 U.S.

181 (2008), Wisconsin’s photo ID law applies to both in-person voting and most

absentee voting.

          40. The list of accepted photo IDs in Wisconsin is restricted to only the

following: (1) a Wisconsin driver’s license; (2) a Wisconsin state ID card issued by

the Wisconsin DMV; (3) an identification card issued by a U.S. uniformed service;

(4) a U.S. passport; (5) a certificate of U.S. naturalization that was issued not

earlier than 2 years before the date of an election at which it is presented; (6) an

unexpired receipt issued at the time of application for a Wisconsin driver’s license

or state ID card; (7) an identification card issued by a federally recognized Indian

2
    This is in addition to, not instead of, the requirement to register to vote.


                                            21
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tribe in Wisconsin3; and (8) an unexpired identification card issued by a Wisconsin

university or college accredited as defined in Wis. Stat. § 39.30(1)(d), which

contains the signature of the individual to whom it is issued, the issuance date, and

an expiration date not later than 2 years after the date of issuance (collectively,

“accepted photo ID”). Wis. Stat. § 5.02(6m).4 The first four accepted photo IDs

must be unexpired or, if expired, must have expired after the date of the most

recent general election. Wis. Stat. § 5.02(6m)(a). A voter who is required to

surrender his or her driver’s license or driving receipt by a law enforcement officer

within 60 days of the date of an election may present an original copy of the

citation or notice in lieu of the license or receipt for a license, and this too

constitutes “accepted photo ID.” Wis. Stat. § 6.79(7).

       41. The following is a non-exhaustive list of forms of identification that will

not be accepted for in-person or absentee voting: (1) any federal photo

identification not specifically listed, and thus excluding, among others, Veterans

Identification Cards (“VICs”); (2) any Wisconsin government-issued card, license,

3
 Upon information and belief, the federally recognized tribes in Wisconsin are: Bad River Band
of Lake Superior Chippewa, Forest County Potawatomi, Ho-Chunk Nation, Lac Court Oreilles
Band of Lake Superior Chippewa, Lac du Flambeau Band of Lake Superior Chippewa,
Menominee Indian Tribe, Oneida Tribe of Indians, Red Cliff Band of Lake Superior Chippewa,
St. Croix Chippewa Indians, Sokaogan Mole Lake Community, and Stockbridge Munsee
Community.
4
 A voter using a college or university ID card must also present separate proof of current
enrollment. A discussion of the proof-of-enrollment requirement appears in a September 12th
GAB Memorandum. See GAB Memorandum, “Photo ID Implementation Issues – Student ID
Cards,” Sept. 12, 2011, at 3-4.


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or document other than a driver’s license or state ID card; (3) driver’s licenses and

state ID cards issued by other states; (4) any local government-issued card, license,

or document; (5) any public or medical assistance benefit cards issued by any unit

of government; and (6) any governmental or private employer photo identification.

      42. The only voters exempt from showing photo ID when voting in person

are electors with proof of confidential elector status due to the existence of a

protective order or similar proof of domestic violence. Wis. Stat. § 6.79(6).

      43. The only voters exempt from providing photo identification when

voting absentee are military, overseas, or confidential voters, Wis. Stat. §§ 6.34(1),

6.87(4)(b)1; voters in nursing homes, qualified community based residential

facilities, qualified adult family homes, and qualified residential care apartment

complexes who vote with special voting deputies, Wis. Stat. § 6.875(6)(c), or

voters who live in such facilities that are not visited by special voting deputies and

who “submit[] with [their] absentee ballot[s] a statement signed by the same

individual who witnesses voting of the ballot that contains the certification of an

authorized representative of the complex, facility, or home that the elector resides

in the complex, facility, or home and the complex, facility, or home is certified or

registered as required by law, that contains the name and address of the elector,

and that verifies that the name and address are correct,” Wis. Stat. § 6.87(4)(b)5;

voters who are indefinitely confined because of age, physical illness or infirmity or



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are disabled for an indefinite period and who, by signing a statement to that effect,

require that an absentee ballot be sent to the voter automatically for every election,5

Wis. Stat. §§ 6.86(2)(a), 6.87(4)(b)2; and absentee voters who have not changed

their names or addresses since the prior time they voted absentee and who

previously provided proof of photo identification, Wis. Stat. § 6.87(4)(b)3.

       44. 2011 Wisconsin Act 23 also imposed a requirement that in-person voters

sign the poll book in order to receive a ballot, unless for reason of disability the

person is unable to do so. Wis. Stat. § 6.79(2).

       45. Under Wis. Stat. § 227.24, as affected by 2011 Wis. Act 21 and as

amended by 2001 Wis. Act 32, an agency’s proposed emergency administrative

rule in final draft form is subject to gubernatorial review before it can be submitted

for review by the relevant Standing Committee and the Joint Committee for the

Review of Administrative Rules (“JCRAR”) and—barring a legislative override—

ultimately promulgated. Wis. Stat. § 227.24(1)(e)1g (“An agency may not file an

emergency rule with the legislative reference bureau . . . and an emergency rule

may not be published until the governor approves the emergency rule in writing.”);

see also Wis. Stat. § 227.185 (gubernatorial approval required for non-emergency

administrative rules); Executive Order No. 50. If JCRAR determines a statement


5
 In these situations, the elector must submit “with his or her absentee ballot a statement signed
by the same individual who witnesses voting of the ballot which contains the name and address
of the elector and verifies that the name and address are correct.” Wis. Stat. § 6.87(4)(b)2.

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of policy or an interpretation of a statute is a rule, it may compel an agency to issue

an emergency rule and submit it to the Governor under Act 21. Wis. Stat. §

227.26(2)(b). If the agency is so directed, then it must submit a Statement of

Scope for Defendant Walker’s review and approval or rejection. Wis. Stat. §

227.24(1)(e)1d. There is no binding statutory deadline by which the Governor

must respond to the agency. Even if the Governor approves the Statement of

Scope, he/she may still reject an emergency rule when it is subsequently submitted

in final draft form. Wis. Stat. § 227.24(1)(e)1g.

      46. Initially, the GAB interpreted the photo ID law as not permitting the use

of technical college ID cards at the polls. See GAB Memorandum, “Photo ID

Implementation Issues – Student ID Cards,” Sept. 12, 2011, at 1-3. However, at its

November 9, 2011 meeting, the GAB reversed course and voted unanimously to

find that technical colleges are embraced by the photo ID law’s phrase “a . . .

college in this state that is accredited.” Wis. Stat. § 5.02(6m)(f). However, on

November 15, 2011, the JCRAR voted 6-4 to force the GAB to issue an emergency

rule codifying its interpretation of the photo ID law, a rule that must be submitted

to Defendant Walker under Act 21 before the legislative review process. The

Statement of Scope for an emergency rule addressing the use of technical college

ID cards was submitted to Defendant Walker on November 22, 2011, and he

approved it on December 2, 2011. See GAB Memorandum, “Promulgation of 3



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Emergency Rules as Directed by JCRAR,” for Dec. 13, 2011 Meeting, at 1-3.

Following its publication in the Administrative Register, the GAB approved the

statement on January 12, 2012. GAB staff subsequently drafted a rule which the

GAB approved, but the rule has not yet been promulgated in final form. Wis. Stat.

§ 227.24(1)(e)1d; Wis. Stat. § 227.24(1)(e)1g; GAB Memorandum, Approve

Proposed Rule Permitting Use of Technical College Student Identification Cards

for Voting, for the Feb. 7, 2012 Meeting, at 1.6

      47. Given his power to approve or reject any emergency rule in final draft

form, Defendant Walker exercises direct control over the implementation of the

photo ID law and the scope and degree of the burdens it imposes on eligible

Wisconsin voters, particularly technical college student voters in Class 4 (see

infra). Defendant Walker also exercises veto power over any bill introduced to

prevent the promulgation of an emergency rule. Wis. Stat. § 227.26(2)(i).

      48. Even if Defendant Walker approves the emergency rule concerning the

use of technical college ID cards, the Legislature may still block it by enacting a

statute. During the November 15th meeting, several of the JCRAR members who

voted with the majority expressed their belief that the Legislature did not intend to

include technical college ID cards, because an amendment designed expressly to

authorize their use as accepted photo ID (in addition to the statutory accredited-

6
 See GAB 10 Relating to Voter Identification, Specifies a WTCS ID Card May Be Used for
Voting, available at https://health.wisconsin.gov/admrules/public/Rmo?nRmoId=12383.

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college standard above) was defeated. The JCRAR’s actions continue to threaten

the exclusion of technical college ID cards from the list of accepted photo ID.

Furthermore, given the review process and publication and notice requirements,

the rule could not be made effective before the February 21, 2012 primary election,

though GAB did instruct elections officials throughout the state to accept technical

college ID cards. See GAB Memorandum, “Promulgation of 3 Emergency Rules

as Directed by JCRAR,” for Dec. 13, 2011 Meeting, at 2-3. At this pace, even

assuming Defendant Walker and the Legislature do not block the emergency rule,

it may not be in effect for the Spring Election and Presidential Preference Primary

on April 3, 2012 either.

       49. There were 382,006 students enrolled in the technical college system in

the 2009-2010 academic year, or 8.8% of Wisconsin’s total voting-age population.7

Of these technical college students, there were approximately 60,000 minority




7
 The 2010 Census dataset labeled “2010 Redistricting Data SF (PL 94-171)” was used to
calculate this percentage.




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enrollees.8 By contrast, there are less than 20,000 minority students in the entire

University of Wisconsin (“UW”) System in the present academic year.9

       50. Student voters at colleges or universities outside the technical college

system face their own challenges in casting a ballot. Upon information and belief,

all college and university ID cards in Wisconsin at the time the photo ID law was

enacted lacked one or more of the required elements: a signature, an issuance date,

and an expiration date not later than 2 years after the issuance date. In early

September, the GAB voted to permit the use of stickers to supply the missing

required information and thereby bring non-complaint student ID cards into

compliance. See GAB Memorandum, “Photo ID Implementation Issues – Student

ID Cards,” Sept. 12, 2011, at 4-5. Upon information and belief, this method is

significantly less expensive than digitally printing the missing information on

wholly redesigned ID cards. At its September 27, 2011 meeting, members of the

Wisconsin State Legislature’s JCRAR expressed concerns about the use of stickers

and communicated their belief that the GAB could only lawfully implement this

8
  The Wisconsin Technical College System’s publicly available data is less than complete.
27,709 students did not report race or ethnicity, and though 2,210 are listed as “multi-ethnic,”
there is no more specific information. The figure reported above is the summation of the
American Indian, Asian, black, Hispanic, and Hawaiian or Pacific Islander populations for 2009-
2010, which is 59,673 students. Wisconsin Technical College System, FY 2001-2010
Systemwide Enrollment by Sex and Race/Ethnicity, available at
http://www.wtcsystem.edu/reports/data/factbook/pdf/ethnicity.pdf.
9
 The University of Wisconsin System, Students Statistics, Fall 2011-12, Headcount Enrollment
by Race/Ethnicity and Age, available at http://www.wisconsin.edu/opar/ssb/2011-
12/pdf/r_b107_tot.pdf.

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policy by adopting an administrative rule. Following that meeting, Defendant

Kennedy submitted a memo to the GAB, urging it to reverse course. See GAB

Memorandum, “Administrative Rulemaking Process and Timeline,” Oct. 6, 2011,

at 1-2. However, at its November 9, 2011 meeting, the GAB reaffirmed that

colleges and universities could bring their ID cards into compliance with stickers

that included the missing information. However, on November 15, 2011, the

JCRAR voted 6-4 to force the GAB to issue an emergency rule codifying the

sticker supplementation policy, a rule that will first be submitted to Defendant

Walker under 2011 Wis. Act 21. See infra. Therefore, the JCRAR’s actions

threaten to block the use of stickers to bring student ID cards into compliance with

the photo ID law.

       51. In order to promulgate an emergency rule allowing colleges and

universities to take advantage of stickers as a cost-efficient solution, the GAB must

first submit a Statement of Scope for Defendant Walker’s review and approval or

rejection. Wis. Stat. § 227.24(1)(e)1d. As of March 2, 2011, the GAB had still not

submitted a Statement of Scope to Defendant Walker. See GAB Memorandum,

“Promulgation of 3 Emergency Rules as Directed by JCRAR,” for Dec. 13, 2011

Meeting, at 2.10 Given his power to reject this emergency rule in its final draft


10
  Despite this inaction, upon information and belief, a number of college and university
administrations are relying on stickers to affix one or more of the missing pieces of information,
such as a 2-year expiration date, to their students’ revised voting-only ID cards.

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form, Wis. Stat. § 227.24(1)(e)1g, and his power to veto any legislation attempting

to override the rule, Wis. Stat. § 227.26(2)(i), Defendant Walker exercises direct

control over the implementation of the photo ID law and the scope and degree of

the burdens it imposes on eligible Wisconsin voters, particularly student voters

with out-of-state drivers’ licenses who are members of Class 3 (see infra).

       52. Even if GAB initiates the rulemaking process on the sticker

supplementation option, given certain notice and publication requirements, as well

as the lack of any binding deadline by which the Governor must respond to the

submitting agency, it will be impossible to obtain legal clarity in a timely manner

on the validity of using stickers to bring student ID cards into compliance with the

photo ID law. Wisconsin colleges and universities require clarity on this issue as

soon as possible, and the GAB needs to begin training poll workers well in

advance of this year’s upcoming elections. See GAB Memorandum,

“Administrative Rulemaking Process and Timeline,” Oct. 6, 2011, at 2-4.11

       53. Forcing the GAB to issue administrative rules to implement a less

expensive fix for student ID cards such as stickers and to ensure that technical


11
   In a memorandum for the GAB’s December 13, 2011 meeting, Defendant Kennedy wrote:
“Staff remains concerned that JCRAR’s actions on these three matters, and the general exercise
of §227.26(2), Wis. Stats., authority for day-to-day election administration issues, affect the
ability of the G.A.B. to provide timely and uniform advice for the proper administration of
elections, particularly with sufficient notice such that proper training of election officials may be
conducted. As a result of 2011 Act 21, the process to complete promulgation of an emergency
rule is more complicated and lengthy.” See GAB Memorandum, “Promulgation of 3 Emergency
Rules as Directed by JCRAR,” for Dec. 13, 2011 Meeting, at 2.


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college student ID cards will be accepted has already increased the probability that

numerous colleges and universities will fail to issue compliant student ID cards in

time for upcoming elections this year.

      54. Technical college ID cards will need to conform to the same statutory

specifications outlined for all college and university ID cards, but these schools

have no incentive to begin this time-consuming and costly process without an

assurance that such cards will in fact be usable for voting purposes. Until the

conclusion of the emergency rulemaking and review process is completed for

“GAB 10 Relating to Voter Identification, Specifies a WTCS ID Card May Be

Used for Voting,” technical colleges will lack a conclusive legal answer on the

categorical validity of their students’ ID cards.

      55. Upon information and belief, some private and University of Wisconsin

System (“UW System”) campuses, as well as some technical colleges, have started

to issue, or stated they will issue, student ID cards that comply with the photo ID

law’s specifications.

      56. Upon information and belief, a number of Wisconsin private colleges

and UW System campuses have either started to issue, or stated they will issue,

separate voting-only ID cards. Upon information and belief, the GAB has

reportedly approved a design for the UW System voting-only ID cards, but it has




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not issued any formal and publicly available documentation approving any college

or university’s new voting-only ID cards.

      57. At the November 9, 2011 hearing, Defendant Kevin Kennedy stated that

the GAB will be reviewing every Wisconsin college or university ID card for its

conformity to the photo ID law and for its security. The GAB will inform

municipal clerks and poll workers throughout Wisconsin as to which college or

university ID cards may be accepted at the polls and which may not be accepted.

Therefore, the validity of each voting-only ID card issued by a college or

university will ultimately be determined by the GAB. Until the GAB formally and

publicly approves a particular college or university’s ID card, given the uncertainty

and policy reversals surrounding the use of student ID cards to vote in Wisconsin,

students at that school will have no assurance that these separate voting-only ID

cards will in fact be treated as accepted photo ID for voting purposes in 2012.

      58. Upon information and belief, other Wisconsin colleges and universities

have expressed that they have no plans at this time to issue any kind of voting-

compliant student ID cards.



 FACTS RELATED TO OBTAINING WISCONSIN PHOTO ID AND THE
   UNDERLYING DOCUMENTS REQUIRED BY WISCONSIN DMV

      59. The Wisconsin DMV, a division of WisDOT, is required to issue state

ID cards free of charge if the applicant is a U.S. citizen, will be at least 18 years

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old by the next election, and requests that the card be provided free for voting

purposes. Wis. Stat. § 343.50(5)(a), as amended by 2011 Wis. Act 23 § 138. A

voter may not receive a state ID card for free if he or she currently possesses an

unexpired Wisconsin driver’s license. Act 23 failed to make duplicate ID cards

(replacements for lost or stolen IDs) issued for voting purposes free of charge, but

this was changed by subsequent legislation which went into effect at the beginning

of January 2012.

      60. Defendants’ public education efforts and training of DMV, GAB, and

local officials involved in election administration remain woefully inadequate to

inform eligible Wisconsin voters of the specific requirements for voting under Act

23 and ensure uniform, non-arbitrary treatment during the state ID card application

process. For example, upon information and belief, numerous local officials and

even DMV employees continue to erroneously inform voters at polling places and

at DMV offices that the address on an accepted photo ID must reflect the voter’s

current address. Moreover, upon information and belief, some voters who have

applied for state ID cards for voting purposes are still being charged fees for

duplicate ID cards and/or are unaware of the changed requirements. As a

consequence, voters face arbitrary, unlawful, and unfair treatment when applying

for duplicate ID cards for voting purposes. This demonstrates Defendants’




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widespread failure to train and educate county and municipal clerks, DMV

employees, and poll workers on what the photo ID law does and does not mandate.

      61. As of the week of January 23, 2012, DMV had 92 offices in the State of

Wisconsin, an increase from 88 offices when the photo ID law was enacted.

      62. Only one DMV office in Wisconsin has any weekend hours, and the

Madison Odana Renewal Center only processes renewal license and ID card

applications. Thus, there is no DMV office in Wisconsin that will process an

original driver’s license or state ID card application on the weekend.

      63. No DMV office in Wisconsin stays open later than 5:30 p.m.

      64. Not all DMV offices are open full-time. Each county must have at least

20 hours per week of driver’s license and state ID card services, and a number of

DMV offices are open only 20 hours a week. Wis. Stat. § 110.08(5)(a).

      65. Upon information and belief, WisDOT has no plans to establish and

deploy mobile DMV units capable of servicing voters who live far from a DMV

office and/or otherwise have difficulty traveling to a DMV office to obtain a state

ID card for voting purposes.

      66. An individual who resides in Wisconsin and wishes to obtain a free

Wisconsin ID card for voting purposes must surrender any valid out-of-state

driver’s license he/she possesses. Wis. Stat. § 343.50(1)(b), as amended by 2011

Wis. Act 23 § 130.



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       67. A person with a driver’s license from another state who wishes to obtain

a Wisconsin driver’s license must pay a fee. Wis. Stat. § 343.21. There is no fee

waiver for obtaining a driver’s license, even if that license will constitute the

individual’s sole form of accepted photo ID for voting purposes.

       68. Wisconsin DMV offices require first-time applicants for state ID cards

and driver’s licenses to present: (1) proof of name and date of birth, (2) proof of

identity, (3) proof of citizenship, legal permanent resident or conditional resident

status of the United States, or legal presence in the United States, (4) proof of

Wisconsin residency, and (5) a Social Security Number. Wis. Admin. Code Trans.

§ 102.15(2). “First-time applicants” encompass all applicants who have not

previously held a Wisconsin driver’s license or ID card, even if they have such

licenses or cards from other states.

       69. Applicants for a renewal, reinstatement, reissue, or duplicate12

Wisconsin driver’s license or state ID card must present proof of identity, Wis.

Admin. Code Trans. § 102.15(2)(b), and may be required to present proof of

citizenship, legal permanent resident or conditional resident status of the United

Status, or legal presence in the United States. Id. § 102.15(2)(bm)2.13 Applicants


12
  A replacement for a lost or stolen identification card (or driver’s license) is called a
“duplicate.”
13
   The DMV website suggests that any applicant who has previously held a Wisconsin driver’s
license or state ID card more than 8 years ago must submit all the same documentation as a first-
time applicant: “If you have held a driver license in the past eight years and now wish to apply


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for a renewal, reinstatement, reissue, or duplicate Wisconsin driver’s license or

state ID card following certain actions, such as suspension, revocation, or

cancellation of the prior license or ID card, must also provide proof of name and

date of birth and proof of residency. Id. § 102.15(2)(c). Applicants for an original,

renewal, reinstatement, reissue, or duplicate driver’s license or state ID card may

be required to provide proof of residency if the applicant uses certain documents to

prove name and date of birth or identity, or if the documents do not have a current

residential address or do not include a current acceptable Wisconsin residential

address. Id. § 102.15(4m).

       70. Voters who lack the necessary primary documents for an original,

renewal, duplicate, or reinstatement driver’s license or ID card often must travel to

and interact with multiple government offices and entities, such as the vital records

office of their birth state and the Social Security Administration, in order to obtain


for an original ID card, you would only be required to provide proof of identity upon application
for your ID card.” For those whose licenses or ID cards expired within the last 8 years, a
separate regulation provides that identity is proven where the DMV is able to locate a record
with a digital photo of the applicant for a duplicate, reinstated, or renewed license or state ID
card. See Wis. Admin. Code Trans. § 102.15(4)(c) (“A person applying without a personal
appearance to reinstate a suspended or revoked license or identification card or to renew a
license subject to s. Trans 102.03 (2) and (5) or obtain a duplicate license or identification card,
if all of the following apply: 1. The department is able to produce an acceptable photograph and
facsimile signature for the individual from its digital image computer records. 2. The person's
name as shown on the license is unchanged. 3. The person is a Wisconsin resident.”). It is
unclear whether this alternative procedure to prove identity is uniformly applied to all duplicate,
reinstatement, and renewal applicants. In any event, based on when the person applicant last
obtained a DMV product, there may not be any digital photo of the person on file. Upon
information and belief, typically the photos contained in the system date from 2005 onward, and
the oldest photos are from 1992.

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the underlying documents needed to secure a state ID card. The process to obtain

documents required in order to obtain a photo ID card can be extremely complex

and difficult, particularly for individuals with lower levels of education, literacy,

and resources, and limited or no access to information or reliable transportation.

      71. If voters lack one or more of the documents required in order to obtain a

Wisconsin state ID card, Defendants do not normally provide direct or

individualized assistance to the voters to obtain those documents.

      72. Rules promulgated by WisDOT provide that for a driver’s license or

state ID card application satisfactory proof of name and date of birth includes the

following: (a) for a person born in Wisconsin, a certified copy of the person’s

Wisconsin birth certificate; (b) for a person born in another jurisdiction, other than

a Canadian province, a certified copy of his or her birth certificate or the equivalent

document from that other jurisdiction or a certificate of birth abroad issued by the

U.S. Department of State; (c) a U.S. passport; (d) an expired Wisconsin driver’s

license; (e) an expired Wisconsin ID card; (f) a U.S. certificate of naturalization

(which costs $345.00); (g) a certificate of U.S. citizenship (which costs $600.00);

(h) a Native American ID card which was issued by a federally recognized tribe or

a band of a federally recognized tribe in Wisconsin, includes a photograph and

signature, and has been approved by the Secretary of WisDOT; (i) a court order

under seal related to the adoption or divorce or to a name or gender change that



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includes the person’s current full legal name, date of birth and in the case of a

name change or divorce order, the person’s prior name; (j) an armed forces of the

United States common access card or DD Form 2 ID card issued to military

personnel; (k) a Department of Homeland Security/Transportation Security

Administration (“DHS/TSA”) transportation worker identification credential; or

various immigration documents. Id. § 102.15(3).

      73. If the applicant is unable to provide accepted proof of name and date of

birth and the documents are “unavailable” (defined in Wis. Admin. Code Trans. §

102.15(1) to exclude documents the applicant merely forgot to bring, as well as

lost or destroyed documents where a replacement original or certified copy may be

obtained upon request), then the applicant may petition the DMV Administrator,

Defendant Judd, to consider alternative documentation of name and date of birth.

Wis. Admin. Code Trans. § 102.15(3)(b). Defendant Judd may delegate to her

subordinates the authority to accept or reject such alternative proof of name and

date of birth, but there are seemingly no rules or standards guiding that

determination. Id. § 102.15(3)(c). Upon information and belief, no signage or

other clear public notice at DMV offices or on the DMV website announces that

this alternative procedure even exists.

      74. WisDOT rules provide that for a driver’s license or state ID card

application, satisfactory proof of citizenship, legal permanent resident status,



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conditional resident status or legal presence includes a U.S. state or local

government-issued birth certificate, a valid U.S. passport, a certificate of U.S.

citizenship (which costs $600.00), a U.S. Certificate of naturalization (which costs

$345.00), a DHS/TSA transportation worker identification credential, and a variety

of immigration documents. Wis. Admin. Code Trans. § 102.15(3m). Therefore, a

first-time applicant for a Wisconsin ID card who lacks a U.S. passport, has no

immigration and naturalization history, and does not work for DHS/TSA, must

either produce a certified copy of his/her birth certificate to obtain a Wisconsin

photo ID card or pay at least $55.00 to obtain a U.S. passport card.

      75. Prior to 2007, when Wisconsin law was amended to comply with the

REAL ID Act, individuals could obtain Wisconsin driver’s licenses and state ID

cards without presenting documentary proof of citizenship. 2005 Wis. Act 126 §

2; 2007 Wis. Act 20 §§ 3245, 3257, 3379; Wis. Stat. §§ 343.165(1), 343.14(2)(es),

343.50(4). Now this documentary proof is mandatory.

      76. Plaintiffs Ruthelle Frank, Shirley Brown, Nancy Lea Wilde, Eddie Lee

Holloway Jr., Mariannis Ginorio, Frank Ybarra, Sam Bulmer, Pamela Dukes, Carl

Ellis, and Dartric Davis have no document listed in Wis. Admin. Code Trans. §

102.15 that they can use to prove their name and date of birth and U.S. citizenship.

      77. While Wis. Admin. Code Trans. § 102.15 does not set forth any

alternative procedure for ID card applicants unable to obtain one of the listed forms



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of documentary proof of U.S. citizenship, Defendant Judd has nevertheless

suggested that some alternative procedure to prove citizenship, name and date of

birth, and possibly other documentary proof requirements, may exist. Upon

information and belief, some applicants for whom there is no birth certificate on

file at a vital records office have been told they can satisfy the proof of citizenship

requirement by: (1) obtaining a document from the relevant vital records office

certifying that there is no record of birth on file; and (2) if requested, presenting

alternative documents evidencing the person’s birth, including but perhaps not

limited to hospital certificates and baptismal certificates. DMV informed Plaintiff

Nancy Lea Wilde that they could make use of an alternative procedure involving

the certification of a lack of a birth record. To the extent such a procedure exists,

upon information and belief, DMV does not consistently or routinely inform voters

of, or apply, this procedure. A similarly situated voter like Plaintiff Shirley Brown,

whose birth in Louisiana was never registered and who has no birth certificate, was

never offered an opportunity to prove her eligibility for an ID card in this manner.

It remains unclear whether DMV offices are in fact issuing ID cards under this

alternative procedure.

      78. Upon information and belief, there are no written rules, standards, or

procedures governing who is given notice of any alternative procedure that may

exist, or regarding the type and quantity of alternative documents that may suffice



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to meet the requirement. Moreover, upon information and belief, there are no

written rules, standards, or procedures governing the DMV’s review of

applications making use of any alternative procedure that may exist. Instead, each

application is reviewed on an ad hoc basis by DMV officials unconstrained by

specific and definite rules and standards.

      79. Upon information and belief, some applicants with inaccurate birth

certificates due to name misspellings, name transpositions, and other defects may

also be allowed to substitute alternative documentary proof and obtain photo ID

cards. However, upon information and belief, DMV lacks any notice procedures

or standards for applying the suggested alternative procedure. DMV employees

never offered any such alternative procedure to persons including but not limited to

Plaintiffs Ruthelle Frank and Eddie Lee Holloway, Jr.

      80. To the extent DMV is offering some applicants an alternative means of

satisfying the name and date of birth and/or proof of citizenship (when a birth

certificate is “unavailable” or otherwise insufficient) and/or other documentary

proof requirements for a state ID card, upon information and belief, the alternative

scheme is marked by a standard-less exercise of discretion and has resulted in the

arbitrary and disparate treatment of similarly situated voters who are attempting to

acquire Wisconsin’s accepted photo ID of last resort.




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      81. The inconsistent and seemingly arbitrary treatment of voters without

birth certificates demonstrates that DMV employees have not been adequately

trained on the photo ID law, on whatever rules, policies, and procedures may exist

to handle ID card applicants without birth certificates or with inaccurate birth

certificates, and/or on how to handle and resolve situations that are not addressed

by existing rules, policies, and procedures.

      82. Persons born in Wisconsin can obtain certified copies of their birth

certificates from the Wisconsin Vital Records Office in the Wisconsin Department

of Health Services or from local registrars. Wisconsin normally charges $20.00 to

locate and make a certified copy of a birth certificate, and the voter generally must

bear his or her own costs in obtaining the birth certificate.

      83. Fees to obtain birth certificates for persons born outside Wisconsin vary

and can be even higher than Wisconsin’s fee. Minnesota, for example, charges

$26.00 for a certified copy of a birth certificate.

      84. Some states will charge a fee for merely searching their records,

regardless of whether or not a record of birth is found. The birth certificate

application forms for both Wisconsin and Louisiana, the birth states of Plaintiffs

Nancy Lea Wilde and Shirley Brown, respectively, charge for a “search” of birth

records, not just for copies that are in fact located.




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      85. Certain states’ and counties’ vital records offices require a government-

issued photo ID to obtain a certified copy of one’s birth certificate or otherwise set

forth a restrictive list of documents that must be shown in order to obtain a

certified copy of a birth certificate, including offices in Illinois (Dartric Davis,

Pamela Dukes, Carl Ellis, and Eddie Lee Holloway, Jr.), Kansas (Sam Bulmer),

Puerto Rico (Ginorio), and Wisconsin (Ybarra). Often these document lists are

restricted to documents that many voters, including poor, homeless, and/or

informally housed individuals, are unlikely to possess.

      86. In many states, including Wisconsin, identification requirements

imposed on individuals differ in practice from the official statutory or regulatory

requirements and are inconsistently applied to similarly situated applicants. These

requirements are often inconsistently or misleadingly stated in publicly available

documents, including on official websites and on the applications themselves, even

for different vital records offices within the same state.

      87. Wisconsin state law, Wis. Stat. § 69.21, sets forth that state and local

registrars “shall” issue a certified copy of a birth certificate to a person “with a

direct and tangible interest” in the matter, who pays the required fee.

Administrative rules confirm that the “state registrar and local registrars shall

provide certified documentary proof of a vital event for individual use to any

person who requests that proof and has a direct and tangible interest as defined in



                                        43
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s. 69.20 (1), Stats.” Wis. Admin. Code DHS § 142.04. However, the birth

certificate application form requires that the person requesting a certified copy of a

birth certificate provide “acceptable identification,” in the form of either a “current

valid photo ID,” i.e., a Wisconsin or out-of-state driver’s license or state photo ID

card, or two items from a limited list of types of secondary identification

documents. The secondary list includes only the following: a government-issued

employee I.D. card or badge with photo, a U.S. passport, a checkbook or

bankbook, a “major” credit card, a health insurance card, a “recent” dated, signed

lease, a “recent” utility bill, or “recent” traffic ticket. The application available on

the Wisconsin Department of Health Services’ (“DHS”) website states that the

identification requirement applies to both in-person and mail-in applications. At

the time of this filing, numerous county registrar websites continued to state that

no identification is required if the certified copies are mailed to the applicant. For

instance, the birth certificate application on the Dane County Register of Deeds

website calls for “valid photo ID,” but makes clear that this is only “required to

pick up [the certificate] in person.” As a result, similarly situated voters

throughout Wisconsin have to follow different identification requirements in

obtaining their birth certificates depending on the county in which they were born.

      88. WisDOT rules provide that for a driver’s license or state ID card

application, satisfactory proof of identity includes only the following: (a) a valid



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driver’s license, including a license from another jurisdiction, except a Canadian

province; (b) military discharge papers; (c) a U.S. government and military

dependent ID card; (d) a valid photo identification card issued by Wisconsin or

another jurisdiction, except a Canadian province; (e) a marriage certificate or

certified copy of judgment of divorce; (f) a Social Security Card; (g) an additional

document that would be sufficient to prove name and date of birth, but was not

used to prove name and date of birth; or (h) a DHS/TSA transportation worker

identification credential. Wis. Admin. Code Trans. § 102.15(4).

      89. For many low-income eligible Wisconsin voters, presenting a Social

Security Card (“SSC”) is the only method to prove identity to the Wisconsin

DMV. In order to obtain an SSC, the Social Security Administration generally

requires an individual to provide evidence of identity. To obtain an original SSC,

the applicant must establish his/her U.S. citizenship, age, and identity. For a

replacement SSC, the applicant must provide documents to establish his/her U.S.

citizenship and identity. Upon information and belief, identification requirements

that SSC applicants are told they must satisfy often differ in practice from the

requirements set forth in law. These requirements are inconsistently stated and

applied to applicants across Wisconsin’s SSA offices and even to different

applicants at the same SSA office.




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          90. WisDOT rules provide that to obtain a driver’s license or state ID card,

an individual may be required to provide a form of proof that contains “a current

acceptable Wisconsin residence street address.” Id. § 102.15(4m).14 A document

listing a post office box or commercial mail receiving agency as the mailing

address is not acceptable.

          91. Under official state regulations, satisfactory proof of residency includes

only the following: (a) a utility bill for water, gas, electric or landline phone

service which is at least 30 days old; (b) a paycheck or stub with the customer’s

name and address, and the employer’s name and address; (c) an account statement

at least 30 days old from a Wisconsin financial institution; or (d) mortgage

documents for a residential real property located in Wisconsin. Id. §

102.15(4m)(b), (c), (d), (f).15

          92. The Wisconsin DMV’s website sets out a broader list of purportedly

acceptable documents to prove residency. The policy authorizing the use of such

documents has not, however, been promulgated as an official administrative rule

and, for the reasons discussed in paragraph 47, may not be legally binding and

could be blocked or overridden by the actions of Defendant Walker or the

Legislature. Moreover, even the unofficial website list of accepted documentary

14
  The Wisconsin DMV website states that this is mandatory for all first-time applicants aged 18
years or older.
15
     So numbered in original; no (a) or (e) are listed in the regulations.

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proof of residency fails to expressly include such documents as Internet bills,

provide a procedure to establish residency for unsheltered homeless persons who

lack a relationship with a social service organization, or provide a procedure for

other voters who do not receive bills, bank accounts, or other permissible

documents at an allowable mailing address.

      93. Recently, Wisconsin DMV updated its website to include a policy

allowing individuals experiencing homelessness to prove residency. Under this

policy, an ID card applicant lacking a current residence address may obtain a letter

from a shelter or other private or public “social service organization” or “social

service agency” (terms which are not defined) with whom he or she has a

relationship, attesting to the individual’s residency and stating that the organization

will receive an ID card in the mail on the applicant’s behalf. The letter must be on

official letterhead and certify that the person working with the social service

provider knows the applicant, the applicant’s name, and that the individual

frequents the residence listed for purposes of securing an ID card (which could

include a homeless shelter or other location where a homeless person may spend

time or return to). At this time, the policy remains vague, and it is unclear how

DMV will interpret and apply it, or whether there has been sufficient training for

employees and guidance for social service organizations to ensure proper and

consistent treatment. Moreover, it appears that the policy relies solely on the



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willingness of social service organizations to verify a homeless individual’s

residence and to receive and hold ID cards mailed to them. As a consequence, the

policy excludes from protection homeless individuals without ties to social service

organizations and those with ties to organizations that cannot or will not complete

the required certification, and it may exclude from protection those homeless

individuals who move between locations or social service organizations, either

voluntarily or involuntarily.

       THE PHOTO ID LAW’S IMPACT ON RACIAL MINORITIES IN
        MILWAUKEE COUNTY, WISCONSIN AND THE STATE OF
                           WISCONSIN

       94. The photo ID law is a voting standard, practice, or procedure under 42

U.S.C. § 1973(a).

       95. African-American and Hispanic/Latino voters in Milwaukee County,

Wisconsin and, upon information and belief, in the State of Wisconsin as a whole

will be individually disfranchised and collectively disempowered by the photo ID

law.

       96. African-American and Hispanic/Latino voters in Milwaukee County,

Wisconsin and, upon information and belief, in the State of Wisconsin

disproportionately lack accepted photo ID and disproportionately lack the

documents necessary to obtain a free Wisconsin state ID card, when compared to

their white counterparts. As a result, these minority voters in Milwaukee County,



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Wisconsin and in the State of Wisconsin are less likely to be able to obtain

accepted photo ID than their white counterparts.

      97. These statistically significant racial disparities in rates of accepted photo

ID and underlying document possession stem from a variety of social and

historical factors. African-American and Hispanic/Latino voters in Milwaukee

County, Wisconsin and in the State of Wisconsin have lower income, lower

employment rates, lower levels of education, and lower access to information than

their white counterparts.

      98. Members of these minority groups in Milwaukee County, Wisconsin

and, upon information and belief, in the State of Wisconsin will be denied the

right to vote on account of race or color by the photo ID law. Since minority

voters will be disproportionately barred from voting under this strict photo ID

requirement, the political processes in Milwaukee County, Wisconsin and, upon

information and belief, in the State of Wisconsin, are not equally open to

participation by African-American and Hispanic/Latino voters, and they will

therefore have less opportunity than other members of the electorate to participate

in the political process and to elect representatives of their choice.

      99. These statistically significant disparities dilute the voting strength of

African-American and Hispanic/Latino voters in Milwaukee County, Wisconsin




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and, upon information and belief, in the State of Wisconsin, and thus impair their

ability to elect representatives of their choice.

      100. The recorded racial disparities in terms of possession of accepted photo

ID and the primary documents DMV accepts for Wisconsin state ID card

applications are statistically significant and demonstrate that the photo ID law has

reduced the probability that votes cast by African-American and Hispanic/Latino

residents of Milwaukee County, Wisconsin and, upon information and belief, the

State of Wisconsin will be counted.

      101. An alternative election scheme is available that does not have a

disproportionate negative impact on the opportunity of African-American and

Hispanic/Latino voters in Milwaukee County, Wisconsin and, upon information

and belief, the State of Wisconsin to participate in the political process and elect

representatives of their choice, as compared to other members of the electorate.

      102. African-American and Hispanic/Latino voters bear the effects of racial

discrimination in education, employment, housing, and health, which have

hindered their ability to participate effectively in the political process. The photo

ID law operates upon this existing vulnerability to disfranchise African-American

and Hispanic/Latino voters in Milwaukee County, Wisconsin and the State of

Wisconsin.




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      103. Certain political campaigns in Milwaukee County, Wisconsin and the

State of Wisconsin have been characterized by overt and subtle racial appeals, as

well as racialized statements by voters.

      104. There has been a lack of responsiveness on the part of elected officials

to the particularized needs of the members of the African-American and

Hispanic/Latino communities in Milwaukee County, Wisconsin and the State of

Wisconsin.

      105. The policies and justifications proffered in defense of the photo ID law

are tenuous and not supported by the evidence.



                      PLAINTIFF CLASS ALLEGATIONS

                                       CLASS 1

      106. Class 1 is defined as: all eligible Wisconsin voters who lack accepted

photo ID, lack one or more of the documents DMV accepts to obtain a Wisconsin

ID card for voting purposes, and face legal or systemic practical barriers to

completing the process of obtaining an ID.

      107. This class of eligible Wisconsin voters who lack accepted photo ID

includes—but is not limited to—individuals who are unable to obtain photo ID

from the DMV because they: were never issued birth certificates or lack accurate

birth certificates; are unable to obtain certified copies of their birth certificates due



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to their birth states’ identification requirements; lack and cannot obtain proof of

Wisconsin residency; and lack and cannot obtain any documentary proof of

identity accepted by the Wisconsin DMV.

      108. This class is sufficiently numerous such that joinder of all members is

impracticable. There are questions of law and questions of fact that are common to

the class. Class 1 Representatives Ruthelle Frank, Shirley Brown, Nancy Lea

Wilde, Eddie Lee Holloway, Jr., Mariannis Ginorio, Frank Ybarra, Sam Bulmer,

Dartric Davis, Justin Luft, Barbara Oden, DeWayne Smith, Sandra Jashinski, and

Anthony Judd’s claims are typical of the claims of the class, and the

representatives will fairly and adequately protect the interests of the class.

      109. Prosecuting separate actions by individual class members would create

a risk of: (a) inconsistent or varying adjudications with respect to individual class

members that would establish incompatible standards of conduct for Defendants;

or (b) adjudications with respect to individual class members that, as a practical

matter, would be dispositive of the interests of the other members not parties to the

individual adjudications or would substantially impair or impede their ability to

protect their interests. Additionally, by denying the right to vote to eligible

Wisconsin voters who have been unable to obtain one or more of the primary

documents accepted by DMV for the Wisconsin state ID card application,

Defendants have acted or refused to act on grounds that apply generally to the



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class, so that final injunctive relief or corresponding declaratory relief is

appropriate respecting the class as a whole.

                                       CLASS 2

      110. Class 2 is defined as: all eligible Wisconsin voters who lack accepted

photo ID and for whom the costs incurred in obtaining a Wisconsin state ID card,

including but not limited to the cost of obtaining certified and accurate copies of

birth certificates or any other documentary proof accepted by the Wisconsin DMV

or the cost of traveling to the nearest Wisconsin DMV office, would constitute a

financial burden.

      111. The photo ID law will force a significant percentage of eligible, poor

Wisconsin voters to make a choice between, on the one hand, paying for a birth

certificate and/or marriage certificate and/or incurring significant travel costs in

order to acquire a state ID card and, on the other hand, paying for basic life

necessities. This constitutes an at least substantial burden, which is undue and

unconstitutional burden under the Equal Protection Clause of the Fourteenth

Amendment.

      112. This class is sufficiently numerous such that joinder of all members is

impracticable. According to the 2005-2009 American Community Survey

(“ACS”) 5-Year Estimates, approximately 357,912 Wisconsin residents ages 18 to

64 and 57,900 Wisconsin residents ages 65 years and older had incomes below 100



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percent of the federal poverty level (“FPL”), and approximately 161,664

Wisconsin residents ages 18 to 64 and 16,183 Wisconsin residents ages 65 years

and older had incomes below 50 percent of the FPL. According to the 2006-2010

American Community Survey (“ACS”) 5-Year Estimates, approximately 10.3% of

the Wisconsin voting-age population—or 443,082 individuals—had incomes

below the FPL in the last 12 months. According to a study conducted by the

Wisconsin Department of Children and Families, in November 2008, there were

12,608 families who were receiving food stamps in the State of Wisconsin but had

zero earned or unearned income.

      113. There are questions of law and questions of fact that are common to

the class. Class 2 Representatives Pamela Dukes, Mariannis Ginorio, Ruthelle

Frank, Eddie Lee Holloway, Jr., Carl Ellis, Frank Ybarra, Sam Bulmer, and Dartric

Davis’s claims are typical of the claims of the class, and the representative parties

will fairly and adequately protect the interests of the class.

      114. Prosecuting separate actions by individual class members would create

a risk of: (a) inconsistent or varying adjudications with respect to individual class

members that would establish incompatible standards of conduct for Defendants;

or (b) adjudications with respect to individual class members that, as a practical

matter, would be dispositive of the interests of the other members not parties to the

individual adjudications or would substantially impair or impede their ability to



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protect their interests. Additionally, given that Defendants are forcing eligible

Wisconsin voters to spend their scarce financial resources in order to cast their

votes, Defendants have acted or refused to act on grounds that apply generally to

the class, so that final injunctive relief or corresponding declaratory relief is

appropriate respecting the class as a whole.

                                       CLASS 3

      115. Class 3 is defined as all Wisconsin voters who are residents of

Wisconsin for voting purposes, who lack any accepted photo ID, and who would

be forced to surrender an out-of-state driver’s license in order to obtain a free

Wisconsin ID card for voting purposes.

      116. This class includes—but is not limited to—currently enrolled students

at accredited Wisconsin colleges or universities whose colleges or universities

have not issued student ID cards that have been found compliant with the photo ID

law, and who would be forced to surrender out-of-state driver’s licenses in order to

obtain free Wisconsin ID cards that they need in order to vote.

      117. This surrender rule imposes a material requirement on voters who wish

to obtain a free state ID card for voting purposes by forcing persons who are

Wisconsin residents for voting purposes, but who possess out-of-state driver’s

licenses, to choose between paying a fee for a Wisconsin driver’s license,




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surrendering their driver’s license to obtain a free Wisconsin state ID card, or

losing their right to vote.

       118. This class is sufficiently numerous such that joinder of all members is

impracticable. There are questions of law and questions of fact that are common to

the class. Class 3 Representatives Anna Shea, Matthew Dearing, Max Kligman,

Samantha Meszaros, Steve Kvasnicka, and Sarah Lahti’s claims are typical of the

claims of the class, and the representative parties will fairly and adequately protect

the interests of the class.

       119. Prosecuting separate actions by individual class members would create

a risk of: (a) inconsistent or varying adjudications with respect to individual class

members that would establish incompatible standards of conduct for Defendants;

or (b) adjudications with respect to individual class members that, as a practical

matter, would be dispositive of the interests of the other members not parties to the

individual adjudications or would substantially impair or impede their ability to

protect their interests. Defendants have acted or refused to act on grounds that

apply generally to the class, so that final injunctive relief or corresponding

declaratory relief is appropriate respecting the class as a whole.




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                                       CLASS 4

      120. Class 4 is defined as: all enrolled students at accredited Wisconsin

technical colleges who lack any form of accepted photo ID other than technical

college ID cards.

      121. This class is sufficiently numerous such that joinder of all members is

impracticable. There are questions of law and questions of fact that are common to

the class. Class 4 Representatives Domonique Whitehurst, Edward Hogan, and

Sarah Lahti’s claims are typical of the claims of the class, and the representative

parties will fairly and adequately protect the interests of the class.

      122. Prosecuting separate actions by individual class members would create

a risk of: (a) inconsistent or varying adjudications with respect to individual class

members that would establish incompatible standards of conduct for Defendants;

or (b) adjudications with respect to individual class members that, as a practical

matter, would be dispositive of the interests of the other members not parties to the

individual adjudications or would substantially impair or impede their ability to

protect their interests. Additionally, Defendants have acted or refused to act on

grounds that apply generally to the class, so that final injunctive relief or

corresponding declaratory relief is appropriate respecting the class as a whole.




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                                      CLASS 5

       123. Class 5 is defined as: all eligible Wisconsin voters who lack accepted

photo ID, must obtain one or more primary documents that DMV accepts to obtain

a Wisconsin state ID card, including but not limited to certified and accurate copies

of birth, marriage, and name change certificates or records or of the non-existence

thereof, and will be required to pay one or more fees to obtain these documents.

       124. This class is sufficiently numerous such that joinder of all members is

impracticable. There are questions of law and questions of fact that are common to

the class. Class 5 Representatives Ruthelle Frank, Shirley Brown, Nancy Lea

Wilde, Eddie Lee Holloway, Jr., Mariannis Ginorio, Frank Ybarra, Sam Bulmer,

Carl Ellis, Pamela Dukes, and Dartric Davis’s claims are typical of the claims of

the class, and the representative parties will fairly and adequately protect the

interests of the class.

       125. Prosecuting separate actions by individual class members would create

a risk of: (a) inconsistent or varying adjudications with respect to individual class

members that would establish incompatible standards of conduct for Defendants;

or (b) adjudications with respect to individual class members that, as a practical

matter, would be dispositive of the interests of the other members not parties to the

individual adjudications or would substantially impair or impede their ability to

protect their interests. Additionally, by requiring eligible Wisconsin voters to pay



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a fee in order to obtain a document DMV insists they produce to obtain a state ID

card, Defendants have acted or refused to act on grounds that apply generally to the

class, so that final injunctive relief or corresponding declaratory relief is

appropriate respecting the class as a whole.

                                       CLASS 6

      126. Class 6 includes all veterans of a uniformed service of the United

States who are eligible Wisconsin voters, lack accepted photo ID, and possess a

Veterans Identification Card (“VIC”) issued by the U.S. Department of Veterans

Affairs.

      127. This class is sufficiently numerous such that joinder of all members is

impracticable. There are questions of law and questions of fact that are common to

the class. Plaintiffs and Class 6 Representatives Sam Bulmer, Carl Ellis, and

Rickie Lamont Harmon’s claims are typical of the claims of the class, and the

representative parties will fairly and adequately protect the interests of the class.

      128. Prosecuting separate actions by individual class members would create

a risk of: (a) inconsistent or varying adjudications with respect to individual class

members that would establish incompatible standards of conduct for Defendants;

or (b) adjudications with respect to individual class members that, as a practical

matter, would be dispositive of the interests of the other members not parties to the

individual adjudications or would substantially impair or impede their ability to



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protect their interests. Additionally, by refusing to accept U.S. government-issued

Veterans Identification Cards, Defendants have acted or refused to act on grounds

that apply generally to the class, so that final injunctive relief or corresponding

declaratory relief is appropriate respecting the class as a whole.

                                       CLASS 7

      129. Class 7 is defined as: all eligible African-American and

Hispanic/Latino voters in the State of Wisconsin who lack accepted photo ID.

      130. Subclass 7.1 is defined as: all eligible African-American and

Hispanic/Latino voters in Milwaukee County, Wisconsin who lack accepted photo

ID.

      131. This class is sufficiently numerous such that joinder of all members is

impracticable. There are questions of law and questions of fact that are common to

the class. Class 7 and Subclass 7.1 Representatives Shirley Brown, Eddie Lee

Holloway, Jr., Mariannis Ginorio, Frank Ybarra, Barbara Oden, Carl Ellis, Rickie

Lamont Harmon, Pamela Dukes, Dartric Davis, DeWayne Smith, and Domonique

Whitehurst’s claims are typical of the claims of the class, and the representative

parties will fairly and adequately protect the interests of the class.

      132. Prosecuting separate actions by individual class members would create

a risk of: (a) inconsistent or varying adjudications with respect to individual class

members that would establish incompatible standards of conduct for Defendants;



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or (b) adjudications with respect to individual class members that, as a practical

matter, would be dispositive of the interests of the other members not parties to the

individual adjudications or would substantially impair or impede their ability to

protect their interests. Additionally, Defendants have subjected voters to a

fundamentally unfair electoral system and therefore acted or refused to act on

grounds that apply generally to the class, so that final injunctive relief or

corresponding declaratory relief is appropriate respecting the class as a whole.



                                       CLAIMS

       COUNT ONE: Violation of the Fourteenth Amendment [Class 1]

      133. The allegations contained in paragraphs 1 through 109 are hereby

incorporated in Count One of the complaint as if set forth herein.

      134. The Fourteenth Amendment to the U.S. Constitution provides in

relevant part: “[N]or shall any State deprive any person of life, liberty, or property,

without due process of law; nor deny to any person within its jurisdiction the equal

protection of the laws.” It prohibits the imposition of severe burdens on the right

to vote unless they are narrowly drawn to advance a state interest of compelling

importance. Burdick v. Takushi, 504 U.S. 428, 434 (1992).

      135. Eligible Wisconsin voters in Class 1 lack one or more primary

documents required to obtain a Wisconsin state ID card and are subjected to



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multiple legal and/or systemic practical barriers to obtaining the ID card under

GAB’s implementation of the photo ID law and DMV’s restrictive regulatory

scheme.

      136. Since voters in this class are unable to obtain one or more of the

necessary primary documents or are otherwise burdened by the legal and/or

systemic practical barriers encountered in this difficult process, they cannot obtain

a photo ID and therefore cannot vote in Wisconsin.

      137. The burdens imposed on Class 1 members’ fundamental right to vote

are severe and not narrowly tailored to any compelling governmental interest. By

imposing a severe and undue burden on the right to vote, Defendants have violated

the Equal Protection and Due Process Clauses of the Fourteenth Amendment.



       COUNT TWO: Violation of the Fourteenth Amendment [Class 2]

      138. The allegations contained in paragraphs 1-105 and 110-114 are hereby

incorporated in Count Two of the complaint as if set forth herein.

      139. The Fourteenth Amendment to the U.S. Constitution provides in

relevant part: “[N]or shall any State deprive any person of life, liberty, or property,

without due process of law; nor deny to any person within its jurisdiction the equal

protection of the laws.” It prohibits the imposition of severe burdens on the right




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to vote unless they are narrowly drawn to advance a state interest of compelling

importance. Burdick v. Takushi, 504 U.S. 428, 434 (1992).

      140. For the hundreds of thousands of eligible low-income and poor

Wisconsin voters, paying the underlying, often multiple, fees and expenses,

including transportation costs, to obtain a Wisconsin state ID card constitutes a

burden on the right to vote, which is at a minimum substantial.

      141. The burden imposed on these voters is severe and not narrowly tailored

to advance any compelling governmental interest.

      142. Accordingly, the photo ID law imposes an undue burden on members

of Class 2 which is at a minimum substantial and, therefore, violates the Equal

Protection and Due Process Clauses of the Fourteenth Amendment as applied to

Class 2.



  COUNT THREE: Violation of the Twenty-Fourth Amendment and Equal

           Protection Clause of the Fourteenth Amendment [Class 3]

      143. The allegations contained in Paragraphs 1-105 and 115-119 are hereby

incorporated in Count Three of the complaint as if set forth herein.

      144. The Twenty-Fourth Amendment to the United States Constitution

provides: “The right of citizens of the United States to vote in any primary or other

election for President or Vice President, for electors for President or Vice



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President, or for Senator or Representative in Congress, shall not be denied or

abridged by the United States or any state by reason of failure to pay any poll tax

or other tax.”

      145. The Twenty-Fourth Amendment prohibits states from conditioning the

right to vote in federal elections on the payment of a tax or fee, or imposing on

federal voters an additional condition—or material requirement—that would not

apply if they paid such a tax or fee. Harman v. Forssenius, 380 U.S. 528, 538-42

(1965). Poll taxes on the right to vote in state elections are unconstitutional under

the Equal Protection Clause of the Fourteenth Amendment. Harper v. Virginia

State Bd. of Elections, 383 U.S. 663, 666-68 (1966).

      146. Wisconsin residents who possess and wish to retain an out-of-state

driver’s license and who lack all the other accepted forms of photo ID will not be

able to obtain free Wisconsin ID cards for voting purposes without surrendering

their out-of-state driver’s licenses.

      147. The compulsory surrender of an out-of-state driver’s license constitutes

a material requirement imposed on an eligible voter who refuses to forfeit his/her

right to vote without paying an unconstitutional poll tax.

      148. Therefore, as applied to Class 3, the photo ID law violates the Twenty-

Fourth Amendment and the Equal Protection Clause of the Fourteenth Amendment

of the United States Constitution.



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 COUNT FOUR: Violation of the Equal Protection Clause of the Fourteenth

                               Amendment [Class 4]

      149. The allegations contained in Paragraphs 1-105 and 120-122 are hereby

incorporated in Count Four of the complaint as if set forth herein.

      150. The Equal Protection Clause of the Fourteenth Amendment prohibits

the states from “deny[ing] to any person within its jurisdiction the equal protection

of the laws.” U.S. CONST. amend. XIV, § 1. It forbids the imposition of severe

burdens on the right to vote unless they are narrowly drawn to advance a state

interest of compelling importance, and requires that any state election law which

imposes reasonable, nondiscriminatory restrictions on the right to vote be justified

by the state’s important regulatory interests. Burdick v. Takushi, 504 U.S. 428, 434

(1992).

      151. The GAB has construed the photo ID law to authorize the use of

accredited technical college ID cards for voting purposes. However, the ultimate

disposition of this rule has been thrown into considerable doubt for the reasons

described herein. The administrative review process still threatens to result in that

exclusion.

      152. This differential treatment of student ID cards from accredited 2-year

colleges and student ID cards from accredited technical colleges is wholly



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arbitrary, not narrowly drawn to advance a compelling state interest, and not even

justified by a merely important regulatory interest.

      153. Accordingly, since it lacks a rational basis, the exclusion of technical

college ID cards is unconstitutional under the Fourteenth Amendment.



          COUNT FIVE: Violation of the Twenty-Fourth Amendment

   and the Equal Protection Clause of the Fourteenth Amendment [Class 5]

      154. The allegations contained in Paragraphs 1-105 and 123-125 are hereby

incorporated in Count Five of the complaint as if set forth herein.

      155. The fee(s) required to obtain certified and accurate copies of primary

documents DMV requires before issuing a state ID card, such as birth, marriage, or

name change certificates or records or proof of the non-existence thereof,

constitute(s) an unconstitutional poll tax for eligible Wisconsin voters in this class.

      156. Accordingly, the photo ID law is unconstitutional as applied to

members of Class 5.



   COUNT SIX: Violation of the Equal Protection Clause of the Fourteenth

                               Amendment [Class 6]

      157. The allegations contained in Paragraphs 1-105 and 126-128 are hereby

incorporated in Count Six of the complaint as if set forth herein.



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      158. The Equal Protection Clause of the Fourteenth Amendment prohibits

the states from “deny[ing] to any person within its jurisdiction the equal protection

of the laws.” U.S. CONST. amend. XIV, § 1.

      159. Veterans Identification Cards (“VICs”) contain the name and photo of

the veteran and are issued by a U.S. government agency.

      160. The photo ID law does not permit the use of VICs to vote.

      161. This differential treatment of VICs and other forms of accepted photo

ID under the law bearing the voter’s legal name and a photograph, including other

forms of photo ID issued by a federal agency, is wholly arbitrary and lacks a

rational basis.

      162. Accordingly, the exclusion of Veterans Identification Cards from the

list of accepted photo IDs is unconstitutional under the Equal Protection Clause of

the Fourteenth Amendment.



   COUNT SEVEN: Violation of Equal Protection Clause of the Fourteenth

                                    Amendment

      163. The allegations contained in Paragraphs 1-105 and 129-132 are hereby

incorporated in Count Seven of the complaint as if set forth herein.




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      164. The Equal Protection Clause of the Fourteenth Amendment prohibits

the states from “deny[ing] to any person within its jurisdiction the equal protection

of the laws.” U.S. CONST. amend. XIV, § 1.

      165. The Equal Protection Clause of the Fourteenth Amendment guarantees

that “[h]aving once granted the right to vote on equal terms, the State may not, by

later arbitrary and disparate treatment, value one person’s vote over that of

another.” Bush v. Gore, 531 U.S. 98, 104-05 (2000); see also Baker v. Carr, 369

U.S. 186, 208 (1962) (“A citizen’s right to a vote free of arbitrary impairment by

state action has been judicially recognized as a right secured by the Constitution . .

. .”) (citing cases). “Uniform rules” and “specific standards” are necessary to

guarantee equal treatment of voters. Bush, 531 U.S. at 106-07.

      166. By vesting control over the process of obtaining Act 23’s accepted

photo ID of last resort with the DMV Defendants, Defendants have forced voters

to navigate the DMV’s complex bureaucratic rules and procedures, some of which

are written, fixed, and readily accessible to voters, and some of which are

unwritten, variable, and not readily accessible to voters.

      167. The Wisconsin DMV, on the one hand, ostensibly applies a set of

documentary proof requirements with clearly enumerated items that satisfy each of

the requirements set forth in Wis. Admin. Code Trans § 102.15 and then, on the

other hand, upon information and belief, arbitrarily offers certain ID card



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applicants the option to satisfy these proof requirements with alternative

certifications and forms of documentary proof that have not been reduced to

writing and publicly listed and/or advertised. To the extent these alternative means

to satisfy the name and date of birth, citizenship, and/or other documentary proof

requirements to obtain a state ID card are in fact being implemented, the

determinations as to who may use these alternative procedures and whether to

approve the applications are characterized by standard-less discretion and not

governed by a set of definite and specific rules, standards, policies, or procedures.

      168. Upon information and belief, DMV provides no meaningful notice of

any alternative procedures that may exist, and DMV does not have any uniform

standards, rules, or policies to guide the outcomes of any such procedures.

      169. As a result of these statewide inconsistencies and ad hoc informal

rulings on ID card applications, eligible Wisconsin voters are subjected to arbitrary

and disparate treatment that differently values the votes of similarly situated voters

in Wisconsin.

      170. These inconsistent procedures may also have a disparate negative

impact on minority voters in Milwaukee County and the State of Wisconsin.

      171. By subjecting similarly situated eligible Wisconsin voters to arbitrary

and disparate treatment, failing to set forth any definite and specific rules,

standards, or procedures by which to constrain DMV employee discretion in



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determinations that directly affect the right to vote, and failing to provide adequate

and uniform notice of rules, policies, practices, and standards affecting the process

of obtaining a state ID card, Defendants have violated the Equal Protection Clause

of the Fourteenth Amendment.



   COUNT EIGHT: Violation of the Due Process Clause of the Fourteenth

                                    Amendment

      172. The allegations contained in Paragraphs 1 through 105, as well as the

allegations supporting Count Seven, are hereby incorporated in Count Eight of the

complaint as if set forth herein.

      173. The Due Process Clause of the Fourteenth Amendment prohibits the

states from “deprive[ing] any person of life, liberty, or property, without due

process of law.” U.S. CONST. amend. XIV, § 1.

      174. The Due Process Clause of the Fourteenth Amendment is violated

where an electoral system is marked by fundamental unfairness. League of Women

Voters of Ohio v. Brunner, 548 F.3d 463 (6th Cir. 2008); Griffin v. Burns, 570 F.2d

1065, 1078-79 (1st Cir. 1978) (“[D]ue process is implicated where the entire

election process including as part thereof the state’s administrative and judicial

corrective process fails on its face to afford fundamental fairness.”); Black v.

McGuffage, 209 F. Supp. 2d 889, 899-901 (N.D. Ill. 2002).



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       175. The photo ID law has forced DMV officials and employees to serve as

gatekeepers to the ballot box. DMV has no prior experience handling the votes of

eligible Wisconsin residents or even voter registration.

       176. Because of the photo ID law, the Wisconsin DMV has, or should have,

rapidly implemented procedures for and retrained its employees on the photo ID

law.

       177. Wisconsin DMV has failed to adequately implement a uniform,

consistently applied scheme for providing free photo ID to voters. This failure

directly affects the rights of eligible Wisconsin voters to receive the photo ID that

state law mandates they have.

       178. Wisconsin DMV has treated similarly situated voters in an arbitrary

and disparate manner due to its failure to establish and implement uniform and

definite rules, standards, and procedures to process voter ID card applications.

DMV has also failed to provide meaningful and adequate notice of its

requirements, rules, standards, and policies to Wisconsin voters.

       179. Additionally, the photo ID law, as implemented by Defendants,

compels eligible Wisconsin voters to interact with multiple other federal, state, and

local agencies, which have also subjected similarly situated eligible Wisconsin

voters to arbitrary and inconsistent treatment and the exercise of standard-less

discretion.



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      180. The GAB and DMV’s efforts in terms of public information and

education have been insufficient to meaningfully and adequately inform Wisconsin

voters about the radical and complex legal changes wrought by Act 23 in a timely

fashion.

      181. Accordingly, Defendants have created an electoral system that is

fundamentally unfair and therefore violates the Due Process Clause of the U.S.

Constitution.



COUNT NINE: Vote Denial in Violation of Section 2 of the Voting Rights Act,

                            42 U.S.C. § 1973 [Class 7]

      182. The allegations contained in Paragraphs 1 through 105 and 129

through 132 are hereby incorporated in Count Nine of the complaint as if set forth

herein.

      183. Section 2 of the Voting Rights Act provides:

      (a) No voting qualification or prerequisite to voting or standard, practice, or
      procedure shall be imposed or applied by any State or political subdivision
      in a manner which results in a denial or abridgement of the right of any
      citizen of the United States to vote on account of race or color. . . .

      (b) A violation of subsection (a) of this section is established if, based on the
      totality of circumstances, it is shown that the political processes leading to
      nomination or election in the State or political subdivision are not equally
      open to participation by members of a class of citizens protected by
      subsection (a) of this section in that its members have less opportunity than
      other members of the electorate to participate in the political process and to
      elect representatives of their choice.

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42 U.S.C. § 1973.

      184. African-American and Hispanic/Latino voters in Milwaukee County,

Wisconsin and, upon information and belief, in the State of Wisconsin

disproportionately lack accepted photo ID and disproportionately lack the primary

documents DMV accepts as part of the application process for a state ID card for

voting purposes, when compared to their white counterparts. Numerous minority

voters are unable to obtain accepted photo ID and will be barred from voting.

      185. Since minority voters will be disproportionately barred from voting

under this strict photo ID requirement, the political processes in Milwaukee

County, Wisconsin and, upon information and belief, the State of Wisconsin are

not equally open to participation by African-American and Hispanic/Latino voters,

and they will therefore have less opportunity than other members of the electorate

to participate in the political process and to elect representatives of their choice.

      186. Minority residents of Milwaukee County, Wisconsin and in the State

of Wisconsin have suffered the effects of discrimination in the areas of education,

employment, housing, and health, which have hindered their ability to participate

effectively in the political process. S. Rep. No. 97-417, 97th Cong., 2d Sess.

(1982), at 28-29.

      187. The photo ID law is a qualification to voting or a standard, practice, or

procedure with respect to voting which is denying the right to vote to individual

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plaintiffs on account of race or color in violation of Section 2 of the Voting Rights

Act, 42 U.S.C. § 1973.



         COUNT TEN: Vote Dilution in Violation of Section 2 of the Voting

                      Rights Act, 42 U.S.C. § 1973 [Class 7]

      188. The allegations contained in Paragraphs 1 through 105 and 129

through 132, as well as the allegations supporting Count Nine, are hereby

incorporated in Count Ten of the complaint as if set forth herein.

      189. Section 2 of the Voting Rights Act provides:

      (a) No voting qualification or prerequisite to voting or standard, practice, or
      procedure shall be imposed or applied by any State or political subdivision
      in a manner which results in a denial or abridgement of the right of any
      citizen of the United States to vote on account of race or color. . . .

      (b) A violation of subsection (a) of this section is established if, based on the
      totality of circumstances, it is shown that the political processes leading to
      nomination or election in the State or political subdivision are not equally
      open to participation by members of a class of citizens protected by
      subsection (a) of this section in that its members have less opportunity than
      other members of the electorate to participate in the political process and to
      elect representatives of their choice.

42 U.S.C. § 1973.

      190. African-American and Hispanic/Latino voters in Milwaukee County,

Wisconsin and, upon information and belief, in the State of Wisconsin,

disproportionately lack accepted photo ID and disproportionately lack the primary

documents DMV accepts as part of the application process for a state ID card for

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voting purposes, when compared to their white counterparts. As a result, these

minority voters are less likely to be able to obtain accepted photo ID than their

white counterparts and thus less likely to see their ballots counted.

      191. The photo ID law is a qualification to voting or a standard, practice, or

procedure with respect to voting which, based on the totality of the circumstances,

will render elections in Milwaukee County, Wisconsin and in the State of

Wisconsin not equally open to participation by African-American and

Hispanic/Latino voters, in that they will have less opportunity than other members

of the electorate to participate in the political process and to elect representatives of

their choice.

      192. These disparities dilute the voting strength of African-American and

Hispanic/Latino voters in Milwaukee County, Wisconsin and the State of

Wisconsin and thus impair their ability to elect representatives of their choice.

      193. There is available an alternative election scheme that does not have a

disproportionate negative impact on the opportunity of African-American and

Hispanic/Latino voters in Milwaukee County, Wisconsin and, upon information

and belief, the State of Wisconsin to participate in the political process and elect

representatives of their choice, when compared to other members of the electorate.

      194. The photo ID law increases the probability that minority voters’ ballots

will not be counted and thus dilutes African Americans’ and Latinos’ votes in



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Milwaukee County, Wisconsin and, upon information and belief, in the State of

Wisconsin on account of race or color in violation of Section 2 of the Voting

Rights Act, 42 U.S.C. § 1973.

          195. Minority residents of Milwaukee County, Wisconsin and in the State

of Wisconsin have suffered the effects of discrimination in the areas of education,

employment, housing, and health, which have hindered their ability to participate

effectively in the political process. S. Rep. No. 97-417, 97th Cong., 2d Sess.

(1982), at 28-29; Thornburg v. Gingles, 478 U.S. 30, 47 (1986) (“The essence of a

[Section] 2 claim is that a certain electoral law, practice, or structure interacts with

social and historical conditions to cause an inequality in the opportunities enjoyed

by [minority] and white voters to elect their preferred representatives.”).



                               PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs respectfully pray that:

   (i)       The Court declare the photo ID law unconstitutional as applied to Class 1

             under the Equal Protection and Due Process Clauses of the Fourteenth

             Amendment and enjoin the photo ID law as applied to members of Class

             1;

   (ii)      The Court declare the photo ID law unconstitutional as applied to Class 2

             under the Equal Protection and Due Process Clauses of the Fourteenth



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         Amendment and enjoin the photo ID law as applied to members of Class

         2;

(iii)    The Court declare the photo ID law unconstitutional as applied to Class 3

         under the Twenty-Fourth Amendment and the Equal Protection Clause of

         the Fourteenth Amendment and enjoin the photo ID law as applied to

         members of Class 3;

(iv)     The Court declare the photo ID law unconstitutional as applied to Class 4

         under the Equal Protection Clause of the Fourteenth Amendment and

         enjoin the photo ID law as applied to members of Class 4;

(v)      The Court declare the photo ID law unconstitutional as applied to Class 5

         under the Twenty-Fourth Amendment and the Equal Protection Clause of

         the Fourteenth Amendment and enjoin the photo ID law as applied to

         members of Class 5;

(vi)     The Court declare the photo ID law unconstitutional as applied to Class 6

         under the Equal Protection Clause of the Fourteenth Amendment and

         enjoin the photo ID law as applied to members of Class 6;

(vii) The Court declare the photo ID law violates the Equal Protection Clause

         of the Fourteenth and enjoin the photo ID law;

(viii) The Court declare the photo ID law violates the Due Process Clause of

         the Fourteenth Amendment and enjoin the photo ID law;



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(ix)    The Court declare the photo ID law violates Section 2 of the Voting

        Rights Act (42 U.S.C. § 1973) as applied to Milwaukee County,

        Wisconsin and the State of Wisconsin, and enjoin the enforcement of the

        photo ID law in Milwaukee County, Wisconsin and the State of

        Wisconsin;

(x)     Award Plaintiffs their reasonable attorneys’ fees, reasonable expert fees,

        and costs pursuant to 42 U.S.C. §§ 1988, 1973l(e) and Fed. R. Civ. P.

        54(d); and

(xi)    Grant such other and further relief as this Court deems just.



           Respectfully submitted this 2nd day of March, 2012,

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